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UNITED sTATES DISTRICT COURT '
WEsTERN DISTRICT oF TENNESSEE 05 JUL 25 PH l- 31

Western Division
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crest us assetth
_vs_ Case NO. 2:05€1‘20239-00113
CALVIN MONROE

 

ORDER OF DETENT\ON PEND|NG TRlAL
FIND|NGS
In accordance with the Bail Refonn Act, 18 U.S.C. § 3142(i), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed at a later date.

DlRECTiONS REGARD|NG DETENT|ON

CALVIN MONROE is committed to the custody of the Attomey General or his designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal. CALVIN MONROE shall be afforded a reasonable opportunity for private
consultation with defense counsel. On order of a Court of the United States or on request of an attorney for the
govemment, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Court proceeding

Date: .luly 21, 2005 W

S. THOMAS ANDERSON
UNITED S'I`ATES MAGISTRATE JUDGE

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:05-CR-20239 was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

